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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Melinda and Mark Loe, on their own
behalf and as next friends of their children         Court File No. 23-CV-01527 (NEB/JFD)
R.L. and O.L.; Dawn Erickson, on her own
behalf and as next friend of her child J.G.;
Crown College; and University of
Northwestern – St. Paul,
                                                        NOTICE OF APPEARANCE OF
                      Plaintiffs,                         MADELEINE DEMEULES

       v.

Tim Walz, in his official capacity as
Governor of Minnesota; Willie Jett, in his
official   capacity    as     Minnesota
Commissioner     of   Education;      and
Minnesota Department of Education,

                      Defendants.


TO:    The Administrator of the Above-Named Court and All Counsel of Record.

       PLEASE TAKE NOTICE that the undersigned attorney shall appear as counsel of

record for Defendants in the above-entitled action.

Dated: July 7, 2023                            KEITH ELLISON
                                               Attorney General
                                               State of Minnesota

                                               /s/ Madeleine DeMeules
                                               MADELEINE DEMEULES
                                               Assistant Attorney General
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